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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

WILLIE J. TURNER, # 125701,                 )
                                            )
      Petitioner,                           )
                                            )     CIVIL ACTION NO.
v.                                          )     2:20-CV-877-RAH-SRW
                                            )           [WO]
STATE OF ALABAMA, et al.,                   )
                                            )
      Respondents.                          )

                                    ORDER

      On December 21, 2020, the Magistrate Judge filed a Recommendation to

which no timely objections have been filed. (Doc. 2.) Upon an independent review

of the record and upon consideration of the Recommendation, it is ORDERED that

      (1) The Recommendation (Doc. 2) is ADOPTED; and

      (2) This case is TRANSFERRED to the United States District Court for the

Northern District of Alabama pursuant to the provisions of 28 U.S.C. § 2241(d).

      DONE, this 13th day of January, 2021.


                                      /s/ R. Austin Huffaker, Jr.
                               R. AUSTIN HUFFAKER, JR.
                               UNITED STATES DISTRICT JUDGE
